-   ~   .      Case: 1:20-cr-00040-SNLJ Doc. #: 2 Filed: 03/03/20 Page: 1 of 2 PageID #: 4


                                                                                                      FILED
                                                                                                   MAR - 3 2020
                                        IN THE UNITED STATES DISTRICT COURT                      U. S. DISTRICT COURT
                                            EASTERN DISTRICT OF MISSOURI                       EASTERN DISTRICT OF MO
                                                                                                   CAPE GIRARDEAU
                                               SOUTHEASTERN DIVISION

            UNITED STATES OF AMERICA,                     )
                                                          )
                           Plaintiff,                     )

                    V.                                    ~   No.              1 :20CR00040SNLJ/ACL
                                                          )
            CHRISTOPHER A. DARNELL,                       ) Title 18 U.S.C. § 922(g)(l)
                                                          ) Title 18 U.S.C. § 922G)
                           Defendant.                     )


                                                   INDICTMENT

                                                         COUNT!

            THE GRAND JURY CHARGES THAT:

                    On or about April 22, 2019, in Butler County, within the Southeastern Division of the

            Eastern District of Missouri, CHRISTOPHER A. DARNELL, the defendant herein, did

            knowingly possess mand affecting interstate commerce, ammunition, knowing he had been

            convicted in any court, of a crime punishable by imprisonment for a term exceeding one year, in

            violation of Title 18, United States Code, Section 922(g)(l).

                                                        COUNT II

            THE GRAND JURY FURTHER CHARGES THAT:

                   On or about April 22, 2019, in Butler County, within the Southeastern Division of the

            Eastern District of Missouri, CHRISTOPHER A. DARNELL, the defendant herein, did

            knowingly possess stolen ammunition, which had previously been shipped and transported in

            interstate commerce, knowing and having reasonable cause to believe the ammunition was

            stolen, in violation of Title 18, United States Code, Section 922G).
-   ~   .    Case: 1:20-cr-00040-SNLJ Doc. #: 2 Filed: 03/03/20 Page: 2 of 2 PageID #: 5




                                               A TRUE BILL.


            JEFFREY B. JENSEN
            UNITED STATES ATTORNEY              FOREPERSON



            KEITH D. SORRELL, #38283MO
            ASSISTANT UNITED STATES ATTORNEY
